     Case 3:06-cr-00590-H    Document 1167     Filed 06/23/16   PageID.4698        Page 1 of 1



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6                           UNITED STATES DISTRICT COURT
7                        SOUTHERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,       ) Case No. 06CR0590-H
                                     )
10                   Plaintiff,      )
                                     )
11               v.                  ) JUDGMENT AND ORDER
                                     )
                                     ) OF DISMISSAL
12   LORENZO BARBOSA-HERNANDEZ (15), )
                                     )
13                   Defendant.      )
                                     )
14                                   )
15
16         Based upon the motion of the United States (Doc. No. 1166), the Court grants the
17   government’s motion to dismiss with prejudice the original Indictment (Doc. No. 46)
18   and the First Superseding Indictment (Doc. No. 305) in the above entitled case against
19   defendant Lorenzo Barbosa-Hernandez. The defendant is hereby discharged as to this
20   case only and all pending arrest warrants in this case are hereby recalled.
21         IT IS SO ORDERED AND ADJUDGED.
22
23         DATED: June 23, 2016              ________________________________
                                             HONORABLE MARILYN L. HUFF
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                                             UNITED STATES DISTRICT JUDGE
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